                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
__________________________________________
                                             )
SREYNUON LUNN,                               )
                                             )
      Petitioner,                            )
                                             )   C.A. No. 1:17-10938-IT
      v.                                     )
                                             )
YOLANDA SMITH, Superintendent of Suffolk,    )
County House of Correction, et al.,          )
                                             )
      Respondents.                           )
__________________________________________)

                                NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE, that Lindsay M. Vick respectfully withdraws her appearance

on behalf of Respondents Yolanda Smith, et al., due to her departure from the Office of

Immigration Litigation – District Court Section. Lead Counsel, Susan Imerman, will serve as

counsel of record for Respondents.


Dated: August 27, 2021                              By: /s/ Lindsay M. Vick
                                                    LINDSAY M. VICK
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                                                    Trial Attorney
                                                    Department of Justice
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                                 CERTIFICATE OF SERVICE

       I, Lindsay M. Vick, an attorney, hereby certify that I filed the Notice of Withdrawal of

Appearance using the CM/ECF system on August 27, 2021. Notice of this filing will be sent to

all counsel of record by operation of the Court’s electronic filing system.




                                                      /s/ Lindsay M. Vick
                                                      LINDSAY M. VICK
                                                      Trial Attorney
                                                      Department of Justice
